Case 1:18-md-02865-LAK   Document 208-1   Filed 10/18/19   Page 1 of 12




                         EXHIBIT 1
    Case 1:18-md-02865-LAK           Document 208-1        Filed 10/18/19      Page 2 of 12




UNITED STA TES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION OF                                   MASTER DOCKET
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                                     1 8-md-2865 (LAK)
SCHEME LITIGATION

This document relates to: l 8-cv-05053; 18-cv-
09797; 18-cv-09836; 18-cv-09837; 1 8-cv-09838; 18-
cv-09839; l 8-cv-09840; l 8-cv-09841; and 18-cv-
10100.


         PLAINTIFF SKATTEFORVALTNINGEN'S FIRST REQUESTS FOR
   PRODUCTION OF DOCUMENTS TO THIRD-PARTY DEFENDANT ED&F MAN
                      CAPITAL MARKETS LTD

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Civil Rule 26.3

of the Local Rules of this Court, Plaintiff Skatteforvaltningen (SKAT") propounds to Third-

Party Defendant ED&F Man Capital Markets Ltd (ED&F Man") its First Requests for

Production of Documents (the "Requests" and each a Request"). ED&F Man is to respond to

the Requests fully and in accordance with the definitions and instructions set forth below on or

before October 30, 2019, and produce the documents identified in response to the Requests at the

office of Hughes Hubbard & Reed LLP, One Battery Park Plaza, New York, New York 10004

(Attn: Marc A. Weinstein, Esq.(marc.weinstein@hugheshubbard.com), and John T. McGoey

(john.mcgoey@hugheshubbard.com)).

                                        DEFINITIONS

        1.     The Requests incorporate the Uniform Definitions in Discovery Requests set forth

in Local Civil Rule 26.3.

        2.     "Account(s)" means the Plans' account(s) at ED&F Man.
    Case 1:18-md-02865-LAK             Document 208-1          Filed 10/18/19      Page 3 of 12



          3.     "Broker-Custodian," "You," "Your," or "ED&F Man" means ED&F Man Capital

Markets Ltd and its affiliates, subsidiaries, predecessors, successors, assigns, principals, officers,

directors, employees, agents, representatives and attorneys.

          4.     "Claims" means the dividend withholding tax refund claims that the Plans

submitted to SKAT.

          5.     "Credit Advice" means a credit advice, income advice, tax voucher, or similar

document, created by You, that purports to show a Plan's ownership of any Shares or receipt of

any Dividends.

       6.        "Dividends" means any dividends received by the Plans from ownership of the

Shares.

          7.     "Payment Agent(s)" means Acupay System LLC, Global Equities GmbH, Globe

Tax Services Incorporated, Goal TaxBack Limited, and Syntax GIS and their affiliates,

subsidiaries, predecessors, successors, assigns, principals, officers, directors, employees, agents,

representatives and attorneys.

          8.    "Plan(s)" means the pension plans identified on the attached Schedule B, and their

affiliates, subsidiaries, predecessors, successors, assigns, principals, officers, directors,

employees, agents, representatives, trustees and attorneys.

          9.    "Refunds" means any amounts paid by SKAT resulting from dividend

withholding tax refund claims made by the Plans.

          10.   "Shares" means any shares of Danish stock owned or purported to be owned by

the Plans and identified on Schedule A.




                                                   2
    Case 1:18-md-02865-LAK            Document 208-1         Filed 10/18/19      Page 4 of 12



                                         INSTRUCTIONS

        I.      Whenever necessary to bring within the scope of the Requests documents that

might otherwise be construed to be outside their scope:

                        (a)     the use of a verb in any tense shall be construed as the use of that
                verb in all other tenses;

                        (b)     the use of a word in its singular form shall be deemed to include
                within its use the plural form as well;

                         ( c)   the use of a word in its plural form shall be deemed to include within
                its use the singular form as well;

                       ( d)   the connectives "and" and "or" shall be construed either
               disjunctively or conjunctively as necessary to bring within the scope of the
               discovery request all responses that might otherwise be construed to be outside of
               its scope; and

                     ( e)   the terms all," any," and "each" shall be construed as
               encompassing any and all.

        2.     Each paragraph of the Requests should be construed independently and no other

paragraph shall be referred to or relied on for the purpose of limiting the scope of any Request.

        3.     Documents and things should be produced in full, without abbreviation or

expurgation, regardless of whether You consider the entire document to be relevant or responsive.

       4.      A request for a document shall be deemed to include a request for all actual,

proposed, or contemplated drafts or mark-ups thereof, revisions, modifications, or amendments

thereto, and non-identical copies thereof, in addition to the document itself.

       5.      Documents and things not otherwise responsive to any of the Requests herein

should be produced if such documents and things mention, discuss, refer to, or explain one or more

documents and things called for by the Requests or are attached to a document or thing called for

by the Requests.




                                                  3
    Case 1:18-md-02865-LAK            Document 208-1         Filed 10/18/19    Page 5 of 12




        6.      Documents and things should be produced pursuant to Rule 34 of the Federal Rules

of Civil Procedure as they are kept in the usual course of business or organized and labeled to

correspond to the categories identified in these requests.

        7.      With respect to any document or thing responsive to the Requests that is withheld

from production based on a claim of privilege, or for any other reason, describe such document by

date, type (e.g., letter, memorandum, email, note), author, addressee, persons copied, general

subject matter, claimed ground for the withholding, and, if not apparent, the relationship of the

author, addressee, and recipients to each other.

        8.     In the event that any requested document or thing is known to have existed and

cannot now be located or has been destroyed or discarded, that document shall be identified by:

the last known custodian, date of destruction or discard, the manner of destruction or discard, the

reasons for destruction or discard, any efforts made to locate such documents, and a statement

describing the document by contents, author, and recipients.

       9.      If You are unable fully to respond to any of the Requests, supply the information

that is available and explain why Your response is incomplete, the efforts made by You to obtain

responsive documents and things, and the source from which all responsive documents and things

may be obtained, to the best of Your knowledge or belief.

        10.    Unless otherwise specified, the documents and things requested include the

responsive documents and things in the actual or constructive possession, control, or custody of

You or Your attorneys or agents.

        11.    The fact that a document has been or will be produced by another party ( or non-

party) does not relieve You of the obligation to produce Your copy of the same document, even if

the two documents are identical in all respects.




                                                   4
    Case 1:18-md-02865-LAK                Document 208-1    Filed 10/18/19      Page 6 of 12



        12.     Please provide documents as single-page black and white TIFFs, with document-

level OCR, delimited (.DAT) document load file, LFP or OPT image load files, and metadata for

the following fields: BegDoc, EndDoc, BegAttach, EndAttach, Subject, FileName, Sent Date,

Created Date, Last Modified Date, Author, From, To, CC, BCC, Recipients, Custodian, FilePath,

Parent, MD5, ConfidentialStamp, Text_Path, and File_Path.

        13.     Please provide separate copies of spreadsheets (Excel), presentations (PowerPoint)

and database files in their native format. The produced file should be named with the Bates number

of the first page of the corresponding TIFF production of the document ( e.g.,, ABC0000001 .xls").

        14.     These Requests are continuing and oblige You, pursuant to Rule 26( e) of the

Federal Rules of Civil Procedure, to promptly produce additional documents or things that are

acquired, discovered or come into existence at any time after the date of the initial production,

including the time of hearing or trial.

        15.    Unless otherwise indicated, each Request should be interpreted to include all

documents created, generated, dated, executed, sent, issued, received or in effect during the period

from May 9, 2012 until August 8, 2015.

                                REQUESTS FOR PRODUCTION

Request for Production No. 1:

   All documents evidencing the Plans' ownership of the Shares.

Request for Production No. 2:

   All documents evidencing the Plans' receipt of the Dividends.

Request for Production No. 3:

   All documents evidencing ED&F Man's receipt of Dividends on behalf of the Plans.




                                                  5
    Case 1:18-md-02865-LAK          Document 208-1         Filed 10/18/19      Page 7 of 12



Request for Production No. 4:

    All documents concerning the Account(s), including, but not limited to, account statements,
    ledgers or other documents reflecting activity in the Account(s), agreements concerning the
    Account(s), and applications to open the Account(s) and account opening or closing
    documents.

Request for Production No. 5:

   Documents evidencing the number of Shares held by ED&F Man on behalf of the Plans,
   including, but not limited to, any and all stock and cash records, account statements, ledgers,
   and trading confirmations.

Request for Production No. 6:

   All documents evidencing ED&F Man's receipt of Shares on behalf of the Plans.

Request for Production No. 7:

   All documents evidencing any actual or proposed agreement between You and any other
   person or entity concerning the submission of dividend withholding tax refund claims to
   SKAT.

Request for Production No. 8:

   All documents evidencing any actual or proposed agreements between You and the Plans
   concerning the Claims, Dividends, Refunds, or Shares.

Request for Production No. 9:

   All documents evidencing the Plans' purchase or acquisition of the Shares and the
   cancellation of any purchase or acquisition of the Shares.

Request for Production No. 10:

   All documents evidencing any loans, credit, payments, or other financing the Plans received
   in respect of their purchase or acquisition of the Shares.

Request for Production No. 11:

   All documents evidencing the transfer of money in respect of the purchase, sale, borrowing,
   financing or other transaction in connection with the Shares.




                                                6
    Case 1:18-md-02865-LAK          Document 208-1        Filed 10/18/19      Page 8 of 12



Request for Production No. 12:

   All documents evidencing the Plans' sale, borrowing, lending, assignment, transfer or
   financing of the Shares, and the cancellation of any sale, borrowing, lending, assignment,
   transfer or financing of the Shares.

Request for Production No. 13:

   All documents evidencing the Plans' purchase, acquisition or sale of financial instruments,
   including, but not limited to, options, swaps, futures, and forwards, concerning the Shares.

Request for Production No. 14:

   All documents evidencing any transfer of any amount of the Refunds to any person or entity,
   and the amounts that each such person or entity received.

Request for Production No. 15:

   All documents relating to the production or intended use or recipients of the Credit Advices.

Requests for Production No. 16:

   All written opinions from law firms concerning your role as custodian or broker and/or the
   Plans' submission of the Claims and all documents provided to any law firm related to the
   creation of all such written opinions.

Requests for Production No. 17:

   Documents evidencing any entity or individual who traded with or on behalf of the Plans in
   connection with the Shares.

Request for Production No. 18:

   All communications with the Plans concerning the Accounts, Claims, Dividends, Refunds, or
   Shares.

Request for Production No. 19:

   All documents You provided to the Payment Agent( s) concerning the Shares, Claims, Plans,
   Accounts, Dividends, and Refunds, and all such documents provided by the Payment
   Agent(s) to You.




                                               7
    Case 1:18-md-02865-LAK         Document 208-1        Filed 10/18/19     Page 9 of 12



Request for Production No. 20:

   All invoices, fee or billing statements You provided to the Plans concerning the Shares,
   Claims, Accounts, Dividends, and Refunds, and documents showing the payment of all such
   invoices, fee or billing statements.

Request for Production No. 21:

   All documents concerning know-your-customer (KYC), internal risk assessments, or other
   due diligence You performed with respect to the Plans.

Request for Production No. 22:

   All communications between You and any other person or entity concerning the Shares,
   Plans, Claims, Refunds, Dividends and Account(s).

Request for Production No. 23:

   All documents evidencing the identity and role of any sub-custodians in connection with the
   Shares owned by the Plans.

Request for Production No. 24:

   Documents evidencing the number of Shares held by any sub-custodians on behalf of the
   Plans.

Request for Production No. 25:

   All documents evidencing the lending of the Shares by You or the Plans to any other person
   or entity, including, but not limited to, any other entity performing custodial services.

Request for Production No. 26:

   All documents between May 9, 2012 and present day concerning the determination made by
   ED&F Man that any Credit Advices, including but not limited to the Credit Advices listed in
   Annex A and Annex E ofED&F Man's Amended Defence filed in SKATv. Solo Capital
   Partners LLP & Others, [2018] EWHC (Comm), Claim No's. CL-2018-000297; CL-2018-
   000404; CL-2018-000590 (Eng.), contained any incorrect information.




                                              8
 Case 1:18-md-02865-LAK     Document 208-1     Filed 10/18/19         Page 10 of 12



Dated: New York, New York
       September 30, 2019

                                        HUGHES HUBBARD & REED LLP



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                                    9
   Case 1:18-md-02865-LAK        Document 208-1   Filed 10/18/19   Page 11 of 12



                                  Schedule A-Shares

A.P. Moller Marsk A/S - A
A.P. Maller Maersk A/S - B
Carlsberg A/S - B
Chr. Hansen Holding A/S
Coloplast A/S - B
Darnpskibsselskabet Norden A/S
Danske Bank A/S
DSV A/S
FLSmidth & Co A/S
IC Group A/S
Lundbeck A/S
Novo Nordisk A/S - B
Novozymes A/S - B
Pandora A/S
Simcorp A/S
TDC A/S
Tryg A/S
   Case 1:18-md-02865-LAK         Document 208-1      Filed 10/18/19       Page 12 of 12



                                Schedule B- Pension Plans

ST Advisory Services Retirement Plan Trust
Acom Capital Strategies LLC Employee Pension Profit Sharing Plan & Trust
American Investment Group of New York, L.P. Pension Plan
Autoparts Pensions Group Trust
Bluegrass Investment Management, LLC Retirement Plan
Bluegrass Retirement Group Trust
Cambridge Way LLC 401K Profit Sharing Plan
Casting Pensions Group Trust
Central Technologies Pensions Group Trust
Del Mar Asset Management Saving & Retirement Plan
DW Construction, Inc. Retirement Plan
Federated Logistics LLC 401(K) Plan
GSA Trading (Canada) Corporate Pension Plan
Industrial Pensions Group Trust
JSH Farms LLC 401(K) Plan
Kamco Investments, Inc. Pension Plan
Kamco LP Profit Sharing Pension Plan
KK Law Firm Retirement Plan Trust
Koutroulakis & Co. Corporate Pension Plan
KRH Farms LLC 401(K) Plan
Linden Associates Defined Benefit Plan
MGH Farms LLC 401(K) Plan
Moira Associates LLC 401 (K) Plan
MSJJ Retirement Group Trust
Newsong Fellowship Church 401(K) Plan
Oranje Canada Corporate Pension Plan
Riverside Associates Defined Benefit Plan
SRH Farms LLC 401(K) Plan
Sterling Alpha LLC 401(K) Profit Sharing Plan
SV Holdings, LLC Retirement Plan
Tew Enterprises, LLC Retirement Plan
Tew, LP Retirement Plan
The Goldstein Law Group PC 401(K) Profit Sharing Plan
Triton Farms LLC 401(K) Plan
Tveter LLC Pension Plan
Uplands Consulting Retirement Plan Trust
